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(https://inbiz.in.gov)

Business Details Print Entity Details

Business Name: MED-1 SOLUTIONS, LLC Business ID: 2003042100115
Entity Type: vamestie Cositted. Cakility Business Status: Active
Company
Creation Date: 04/17/2003 Inactive Date:
. . 517 US Highway 31 N
Off, :
Ue Oe inane Greenwood, IN, 46142 - Expiration Date: Perpetual
* 2090, USA

Jurisdiction of Business Entity
ion: Indiana Report Due 04/30/2025
Formation: pare

Years Due:

Governing Person Information

Title Name Address
517 US Highway 31 N, Greenwood, IN, 46142, USA

Member William Joe Huff II

Page 1 of 1, records 1 to 1 of 1

Registered Agent Information

Type: Individual
Name: WILLIAM J. HUFF
Address: 517 US Highway 31 N, Greenwood, IN, 46142, USA

Filing History Name History Assumed Name History
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